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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION



CHRIS BARNARD, JOLENE FURDEK,          §
AND RENE REVILLA,                      §
                                       §
      Plaintiffs,                      §
                                       §
v.                                     §                  CASE NO. 3:17-cv-2650-N
                                       §
FUSION LOGISTICS, INC., et al.         §
                                       §
      Defendants.                      §
________________________________________

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs Chris Barnard, Jolene Furdek, Rene Revilla and Defendants Fusion Logistics,

Inc. and PEI Ohio, Inc., pursuant to Rule 41(a)(1)(A)(ii), Fed. R. Civ. P., announce to the Court

that they have arrived at a fair and reasonable compromise of a bona fide dispute of alleged FLSA

claims, including the collective action claims, and hereby stipulate to a dismissal of this action in

its entirety with prejudice, with each party bearing his, her or its own costs and attorneys’ fees.

 Respectfully submitted,                           Respectfully submitted,

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